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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


OLCAN III PROPERTIES, LLC                            *
438 N. CRAIN HIGHWAY
GLEN BURNIE, MD 21061                                *

       PLAINTIFF                                     *

V.                                                    *

GLOBAL TOWER HOLDINGS, LLC         *                         CASE NO: 1:22-cv-02456-LKG
116 HUNTINGTON AVE.
11TH FLOOR                         *
BOSTON, MA. 02116
SERVE ITS RESIDENT AGENT:          *
THE CORPORATION TRUST INCORPORATED
2405 YORK ROAD
SUITE 201
LUTHERVILLE TIMONIUM MD 21093-2264

       DEFENDANT                                     *

*      *       *    *    *   *     *   *    *     *    *     *                            *
                AMENDED COMPLAINT AND REQUEST FOR JURY TRIAL

       OLCAN III PROPERTIES, LLC, Plaintiff, by its attorney, Richard J. Hackerman, bring

this action against Defendant, and in support of state the following:



       1. Plaintiff is a business and owner of property located in Baltimore City, Maryland.

       2. Defendant is the current holder of an easement and tenant of the real property located

at 4437-4449 Belair Road, Baltimore, Maryland 21206, at the location of and with real property

owned by the Plaintiff at that address.

       3. This action arises based upon that agreement for an easement and net profits agreement

between the parties.
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        4. Plaintiff granted an easement to T2 Unison Site Management, LLC on May 22, 2007

for the “transmission and reception of any and all wireless communication signals and the

construction, maintenance, repair, replacement, improvement, operation and removal of towers,

antennas, buildings, fences, gates and related facilities and any related activities and uses...” , i.e.,

a cell phone tower which has been places on the top of the building located at the address

referenced above. There was also a Net Profits Agreement made between the same two parties

on or about May 22, 2007. Sometime in 2012 Plaintiff and Defendant Global Tower Partners

entered into a Subrogation Agreement and Global Tower Partners became the tenant. In 2018

Global Tower Partners assigned its interests in the Net Profits Agreement and the Easement

Agreement to Defendant Global Tower Holdings, LLC.

        5. Since January 1, 2021 and thereafter Defendant’s use of the easement has caused

damage to the Plaintiff’s real and personal property which has caused Plaintiff to incur repair

costs and to lose rents and profits. Said damages are continuing in nature.



                             COUNT ONE- BREACH OF CONTRACT

        6. Plaintiff incorporates herein the allegations of the preceding paragraphs.

        7. Defendant and Plaintiff are parties to the easement and for the upkeep, operation,

maintenance and repair.

        8. Defendant has caused significant damage to the property of the Plaintiff.

        9. Defendant breached the contract between the parties by failing to properly maintain the

cell phone tower and area supporting the cell phone tower which as a result has damaged

Plaintiff’s property.

        10. Plaintiff incurred damages in excess of $75,000.00.
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                     COUNT TWO-NEGLIGENT MISREPRESENTATION

        11. Plaintiff incorporates herein the allegations of the preceding paragraphs.

        12. Defendant negligently asserted that they would repair, replace, and maintain the area

of the easement and to not damage Plaintiff’s property.

        13. Defendant owes and owed a duty of care to not damage Plaintiff’s property.

        14. Defendant made these assertions with the intention that the Plaintiff would rely on

them.

        15. Defendant knew that the Plaintiff would rely on the assertions and the contract

between the parties, specifically for repairs and upkeep, which if assertions were not true, would

cause damage to the property at issue.

        16. Plaintiff justifiably relied on Defendant’s promises that it would repair, replace and

maintain the area of the easement.

        17. Plaintiff incurred damages in excess of $75,000.00.



                                COUNT THREE- NEGLIGENCE

        18. Plaintiff incorporates herein the allegations of the preceding paragraphs.

        19. Defendant has a duty of care of reasonable and adequate maintenance and repair for

the property they were using for its cell phone tower.

        20. Defendant breached that duty by negligently and recklessly causing damage to the

property of the Plaintiff.

        21. Damages to the Plaintiffs property were caused by the actions and omissions of the

Defendant.

        22. Plaintiff suffered damages in excess of $75,000.00.
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                COUNT FOUR- PRIVATE ACTION FOR PUBLIC NUISANCE

       23. Plaintiff incorporates herein the allegations of the preceding paragraphs.

       24. Defendant’s damage to Plaintiff’s real property is an invasion of Plaintiff’s uses and

enjoyment of his property. Defendant took actions with its equipment and its lack of maintenance

and care of Plaintiff’s property which has caused substantial and unreasonable harm to Plaintiff.

       25. Defendant’s action are intentional and unreasonable.

       26. Defendant’s actions are unintentional but avoidable by simply using ordinary care to

protect Plaintiff’s property and not acting negligently and recklessly.

       27. Plaintiff suffered the loss of rents and the costs of repairs, a harm of a kind different

from that suffered by other members of the general public.

       28. Defendant’s conduct constitutes a nuisance and the injuries to the Plaintiff entitle

Plaintiff to damages.

       29. Plaintiff has suffered damages in excess of $75,000.00.



   Wherefore the Plaintiff claims the following:

A. Compensatory damages in the amount of $75,000.00 against the Defendant.

B. Its reasonable counsel fees.

C. For such other and further relief as is necessary.

                                                              /s/ Richard J. Hackerman
                                                              ______________________
                                                              Richard J. Hackerman
                                                              3635 Old Court Road Suite 208
                                                              Baltimore, MD 21208
                                                              410 243 8800 (phone)
                                                              410 630 7232 (fax)
                                                              Attorney for Plaintiff
                                                              CPF No.: 8212010181
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                                                              richard@richardhackerman.com



                                   CERTIFICATE OF SERVICE


I HEREBY CERTIFY, that a copy of the foregoing was served on the below listed counsel for
the Defendant via the CM/ECF System

Douglas A. Sampson, Esquire
Saul Ewing Arnstein & Lehr LLP
1001 Fleet Street, 9th Floor
Baltimore, Maryland 21202

douglas.sampson@saul.com

this 14TH day of November, 2022.                 /s/ Richard J. Hackerman
                                                 _____________________________
                                                 Richard J. Hackerman




                               CERTIFICATE OF COMPLIANCE

  I hereby certify that the attached submission does not contain any restricted information, or if it
does contain restricted information, a redacted submission has been filed contemporaneously
pursuant to Maryland Rule 20-201(f)(2).

                                                              /s/ Richard J. Hackerman
                                                              ___________________________
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                                                              Richard J. Hackerman, P.A.
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